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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION

                                              CASE NO.: 1:24-cv-21013

      CEE, LLC,

                      Plaintiff,

      v.

      THE INDIVIDUALS, PARTNERSHIPS,
      AND UNINCORPORATED
      ASSOCIATIONS IDENTIFIED ON
      SCHEDULE "A",

                      Defendants.


                     COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

           Plaintiff, CEE, LLC1, by and through its undersigned counsel, brings this Complaint

  against Defendants, the Individuals, Partnerships, and Unincorporated Associations Identified set

  forth on Schedule "A" hereto (collectively “Defendants”), who are promoting, selling, offering

  for sale and distributing goods bearing or using unauthorized reproductions or derivatives of

  Plaintiff's copyrights within this district through various Internet based e-commerce stores using

  the seller identities as set forth on Schedule “A” hereto (the “Seller IDs”), and in support of its

  claims, alleges as follows:




  1
    Since it is unknown when Plaintiff’s forthcoming Ex Parte Motion for Entry of Temporary Restraining Order,
  Preliminary Injunction, and Order Restraining Transfer of Assets will be ruled on, Plaintiff’s name has been
  removed to prevent Defendants from getting advance notice. Counterfeiting and infringement lawsuits like this one
  are closely monitored by Chinese defendants on websites like www.sellerdefense.cn, social media (QQ, WeChat,
  etc.), and elsewhere on the internet. The www.sellerdefense.cn website and others warn infringers specifically of
  product types, brands, law firms filing cases, and other information necessary for defendants, like those named in
  this case, to evade Plaintiff’s anti-pirating and anti-counterfeiting efforts and hide their ill-gotten gains. Plaintiff will
  file an Amended Complaint which identifies Plaintiff and provides additional information and allegations once the
  record is unsealed.


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                                    SUMMARY OF THE ACTION

          1.      Plaintiff, CEE, LLC, brings this action for willful copyright infringement and

  piracy committed for purposes of commercial advantage or private financial gain by the

  reproduction or distribution, including by electronic means, of one or more copies of copyrighted

  photographs in violation of 17 U.S.C. §501, and for all the remedies available under the

  Copyright Act 17 U.S.C. § 101, et seq., and The All Writs Act, 28 U.S.C. § 1651(a).

                               SUBJECT MATTER JURISDICTION

          2.      This is an action arising under the Copyright Act, 17 U.S.C. § 504.

          3.      This Court has original subject matter jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331 and 1338.

                                    PERSONAL JURISDICTION

          4.      Defendants are subject to personal jurisdiction in this district because they

  purposefully direct their activities toward and conduct business with consumers throughout the

  United States, including within the state of Florida and this district, through at least the internet-

  based e-commerce stores accessible in Florida and operating under their Seller IDs.

          5.      Defendants are subject to personal jurisdiction in this district because their illegal

  activities directed towards the state of Florida cause Plaintiff injury in Florida, and Plaintiff's

  claims arise out of those activities.

          6.      Alternatively, Defendants are subject to personal jurisdiction in this district

  pursuant to Federal Rule of Civil Procedure 4(k)(2) because (i) Defendants are not subject to

  jurisdiction in any state’s court of general jurisdiction; and (ii) exercising jurisdiction is

  consistent with the United States Constitution and laws.




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                                                 VENUE

          7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(3) because

  Defendants are not residents in the United States and therefore there is no district in which an

  action may otherwise be brought. Defendants are thus subject to the Court’s personal

  jurisdiction.

          8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens who are engaged in infringing activities and causing harm

  within this district by advertising, offering to sell, selling and/or shipping infringing products to

  consumers into this district.

          9.      Venue is proper in this Court pursuant to 28 U.S.C. §1400(a) because Defendants

  or their agents reside or may be found in this judicial district and therefore subject to the Court’s

  personal jurisdiction.

                                            THE PLAINTIFF

          10.     CEE, LLC (“CEE”) is a Michigan Limited Liability Company with its principal

  place of business in Southfield, Michigan.

          11.     CEE is a family owned business that specializes in handmade clocks.

          12.     CEE’s products are sold legitimately through its website and other authorized

  retailers.

          13.     CEE is the exclusive owner with all rights in and to the copyright described below

  that are subject of this action.

          14.     Plaintiff offers for sale and sells its products within the state of Florida, including

  this district, and throughout the United States.




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           15.      Like many other intellectual property rights owners, Plaintiff suffers ongoing

  daily and sustained violations of its intellectual property rights at the hands of infringers, such as

  Defendants herein.

           16.      Plaintiff is harmed, the consuming public is duped and confused, and the

  Defendants earn substantial profits in connection with the infringing conduct.

           17.      In order to combat the harm caused by the combined actions of Defendants and

  others engaging in similar infringing conduct, Plaintiff expends significant resources in

  connection with its intellectual property enforcement efforts, including legal fees and

  investigative fees.

           18.      The recent explosion of infringement over the Internet has created an environment

  that requires companies like Plaintiff's to expend significant time and money across a wide

  spectrum of efforts in order to protect both consumers and itself from the ill effects of

  infringement of Plaintiff's intellectual property rights, including consumer confusion and the

  erosion of Plaintiff's brand.

                                    PLAINTIFF'S COPYRIGHT RIGHTS

           19.      CEE advertises, markets, promotes, and sells its clocks using photographs that are

  protected by copyright and registerd with the United States Copright Office (the “Copyrighted

  Photographs”).

           20.      Plaintiff’s photographs are duly registered with the Register of Copyrights as a

  group of 91 photographs under the registration number VA X-XXX-XXX. True and correct

  copies of the Copyright Certificate of Registration and the photographs it applies to are attached

  hereto as Exhibit 12.


  2
   Omitted in initial filing. Plaintiff will file a Motion for Leave to file certain documents, including Exhibit 1, under
  seal.
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           21.      Plaintiff is the owner of all rights in and to the Copyrighted Photographs, by

  written assignment. A true and correct copy of the Copyright Assignment is attached hereto as

  Exhibit 23.

           22.      Plaintiff’s products are widely legitimately advertised and promoted by Plainitff

  and its authorized distributors using Plaintiff’s Copyrighted Photographs.

           23.      Plainiff has never granted authorization to anyone to advertise, market, or

  promote unauthorized goods using Plaintiff’s Copyrighted Photographs.

                                                    DEFENDANTS

           24.      Defendants have the capacity to be sued pursuant to Federal Rule of Civil

  Procedure 17(b).

           25.      Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions,

  redistribute products from the same or similar sources in those locations, and/or ship their goods

  from the same or similar sources in those locations to shipping and fulfillment centers within the

  United States to redistribute their products from those locations.

           26.      Defendants are engaged in business in Florida but have not appointed an agent for

  service of process.

           27.      Upon information and belief, Defendants have registered, established, or

  purchased, and maintained their Seller IDs.

           28.      Defendants target their business activities toward consumers throughout the

  United States, including within this district, through the simultaneous operation of commercial

  Internet based e-commerce stores via the Internet marketplace websites under the Seller IDs.


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   Omitted in initial filing. Plaintiff will file a Motion for Leave to file certain documents, including Exhibit 2, under
  seal.
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          29.     Defendants are the past and present controlling forces behind the sale of products

  infringing products bearing or using unauthorized reproductions or derivatives of Plaintiff's

  Copyrighted Photographs as described herein operating and using at least the Seller IDs.

          30.     Defendants directly engage in unfair competition with Plaintiff by advertising,

  offering for sale, and selling goods bearing or using unauthorized reproductions or derivatives of

  Plaintiff's Copyrighted Photographs to consumers within the United States and this district

  through Internet based e-commerce stores using, at least, the Seller IDs and additional names,

  websites, or seller identification aliases not yet known to Plaintiff.

          31.     Defendants have purposefully directed some portion of their illegal activities

  towards consumers in the state of Florida through the advertisement, offer to sell, sale, and/or

  shipment of infringing and counterfeit goods into the State.

          32.     Upon information and belief, Defendants may have engaged in fraudulent conduct

  with respect to the registration of the Seller IDs by providing false and/or misleading information

  to the Internet based e-commerce platforms or domain registrar where they offer to sell and/or

  sell during the registration or maintenance process related to their respective Seller IDs.

          33.     Upon information and belief, many Defendants registered and maintained their

  Seller IDs for the sole purpose of engaging in illegal infringing activities.

          34.     Upon information and belief, Defendants will likely continue to register or

  acquire new seller identification aliases for the purpose of selling and offering for sale goods

  bearing or using unauthorized reproductions or derivatives of Plaintiff's Copyrighted

  Photographs unless preliminarily and permanently enjoined.

          35.     Defendants use their Internet-based businesses to infringe the intellectual property

  rights of Plaintiff and others.


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                  JOINDER OF DEFENDANTS IN THIS ACTION IS PROPER

          36.     Defendants are The Individuals, Partnerships, and Unincorporated Associations

  set forth on Schedule “A” hereto.

          37.     Defendants are promoting, selling, offering for sale and distributing goods bearing

  or using unauthorized reproductions or derivatives of one or more of Plaintiff's Copyrighted

  Photographs within this district.

          38.     Joinder of all Defendants is permissible based on the permissive party joinder rule

  of Fed. R. Civ. P. 20(a)(2) that permits the joinder of persons in an action as Defendants where

  any right to relief is asserted against them jointly, severally, or in the alternative with respect to

  or arising out of the same transaction, occurrence, or series of transactions or occurrences; and

  any question of law or fact common to all Defendants will arise in the action.

          39.     Joinder of the multiple Defendants listed in Schedule “A” attached hereto is

  permitted because Plaintiff asserts rights to relief against these Defendants jointly, severally, or

  in the alternative with respect to or arising out of the same transaction, occurrence, or series of

  transactions or occurrences; and common questions of law or fact will arise in the action.

          40.     Joinder of the multiple Defendants listed in Schedule “A” attached hereto serves

  the interests of convenience and judicial economy, which will lead to a just, speedy, and

  inexpensive resolution for Plaintiff, Defendants, and this Court.

          41.     Joinder of the multiple Defendants listed in Schedule “A” attached hereto will not

  create any unnecessary delay nor will it prejudice any party. On the other hand, severance is

  likely to cause delays and prejudice Plaintiff and Defendants alike.

          42.     Joinder of the multiple Defendants listed in Schedule “A” is procedural only and

  does not affect the substantive rights of any Defendant listed on Schedule “A” hereto.


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          43.     This Court has jurisdiction over the multiple Defendants listed in Schedule “A”

  hereto. Venue is proper in this Court for this dispute involving the multiple Defendants listed in

  Schedule “A” hereto.

          44.     Plaintiff's claims against the multiple Defendants listed in Schedule “A” are all

  transactionally related.

          45.     The actions of all Defendants cause indivisible harm to Plaintiff by Defendants’

  combined actions engaging in similar infringing conduct when each is compared to the others.

          46.     All Defendants’ actions are logically related. All Defendants are all engaging in

  the same systematic approach of establishing online storefronts to redistribute illegal products

  from the same or similar sources while maintaining financial accounts that the Defendants can

  easily conceal to avoid any real liability for their actions.

          47.     Plaintiff believes all Defendants are located in foreign jurisdictions, mostly China.

          48.     All Defendants undertake efforts to conceal their true identities from Plaintiff in

  order to avoid detection for their illegal infringing activities.

          49.     All Defendants have the same or closely related sources for their infringing

  products with some sourcing from the same upstream source and others sourcing from

  downstream sources who obtain infringing products from the same upstream sources.

          50.     All Defendants take advantage of a set of circumstances the anonymity and mass

  reach the internet affords to sell infringing goods across international borders and violate

  Plaintiff's intellectual property rights with impunity.

          51.     All Defendants have registered their Seller IDs with a small number of online

  platforms for the purpose of engaging infringement.




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         52.     All Defendants use payment and financial accounts associated with their online

  storefronts or the online platforms where their online storefronts reside.

         53.     All Defendants use their payment and financial accounts to accept, receive, and

  deposit profits from their infringing activities.

         54.     All Defendants can easily and quickly transfer or conceal their funds in their use

  payment and financial accounts to avoid detection and liability in the event that the Plaintiff's

  anti-pirating and anti-counterfeiting efforts are discovered, or Plaintiff obtains a monetary award.

         55.     All Defendants violated one or more of the Plaintiff's intellectual property rights

  in the United States by the use of common or identical methods.

         56.     All Defendants understand that their ability to profit through anonymous internet

  stores is enhanced as their numbers increase, even though they may not all engage in direct

  communication or coordination.

         57.     Many of the Defendants are operating multiple internet storefronts and online

  marketplace seller accounts using different Seller IDs listed on Schedule “A”. As a result, there

  are more Seller IDs than there are Defendants, a fact that will emerge in discovery.

         58.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts,

  and any other alias seller identification names or e-commerce stores used in connection with the

  sale of infringements of Plaintiff's intellectual property rights are essential components of

  Defendants’ online activities and are one of the means by which Defendants further their

  infringement and counterfeiting scheme and cause harm to Plaintiff.

         59.     Defendants are using infringements of Plaintiff's intellectual property rights to

  drive Internet consumer traffic to their e-commerce stores operating under the Seller IDs, thereby




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  increasing the value of the Seller IDs and decreasing the size and value of Plaintiff's legitimate

  marketplace and intellectual property rights at Plaintiff's expense.

         60.     Defendants, through the sale and offer to sell infringing products, are directly, and

  unfairly, competing with Plaintiff's economic interests in the state of Florida and causing

  Plaintiff harm and damage within this jurisdiction.

         61.     The natural and intended by product of Defendants’ logically related actions is

  the erosion and destruction of the goodwill associated with Plaintiff's intellectual property rights

  and the destruction of the legitimate market sector in which it operates.

         62.     Upon information and belief, at all times relevant hereto, Defendants had actual or

  constructive knowledge of Plaintiff's intellectual property rights, including Plaintiff's exclusive

  right to use and license such intellectual property rights.

                            DEFENDANTS’ INFRINGING ACTIVITIES

         63.     Defendants are promoting, advertising, distributing, selling, and/or offering for

  sale infringing goods in interstate commerce using exact copies, substantially similar copies,

  and/or derivatives of the Copyrighted Photographs (the “Infringing Goods”) through at least the

  Internet based e-commerce stores operating under the Seller IDs.

         64.     Specifically, Defendants are using infringements of the Copyrighted Photographs

  to initially attract online customers and drive them to Defendants’ e-commerce stores operating

  under the Seller IDs.

         65.     Plaintiff has used the Copyrighted Photographs extensively and continuously

  before Defendants began offering goods bearing or using unauthorized reproductions or

  derivatives of one or more of Plaintiff’s Copyrighted Photographs.

         66.     Upon information and belief, Defendants’ Infringing Goods are of a quality

  substantially different than that of Plaintiff's genuine goods.
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           67.   Defendants advertise its e-commerce stores, including their Infringing Goods

  offered for sale, to the consuming public via e-commerce stores on, at least, one Internet

  marketplace website operating under, at least, the Seller IDs.

           68.   In so advertising their stores and products, Defendants improperly and unlawfully

  use reproductions or versions of the Copyrighted Photographs, or derivatives thereof without

  Plaintiff's permission.

           69.   As part of their overall infringement and counterfeiting scheme, most Defendants

  are, upon information and belief, concurrently employing and benefitting from substantially

  similar, advertising and marketing strategies based, in large measure, upon an illegal use of

  infringements of the Copyrighted Photographs.

           70.   Specifically, Defendants are using infringements of the Copyrighted Photographs

  in order to make their e-commerce stores selling illegal goods appear more relevant and

  attractive to consumers searching for both Plaintiff's goods and goods sold by Plaintiff's

  competitors online.

           71.   By their actions, Defendants are contributing to the creation and maintenance of

  an illegal marketplace operating in parallel to the legitimate marketplace for Plaintiff's genuine

  goods.

           72.   Defendant are causing individual, concurrent and indivisible harm to Plaintiff and

  the consuming public by (i) depriving Plaintiff and other third parties of their right to fairly

  compete for space within search engine results and reducing the visibility of Plaintiff's genuine

  goods on the World Wide Web, (ii) causing an overall degradation of the value of the goodwill

  associated with Plaintiff’s business and its intellectual property assets, and (iii) increasing

  Plaintiff's overall cost to market its goods and educate consumers via the Internet.


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         73.     Defendants are concurrently conducting and targeting their infringing activities

  toward consumers and likely causing unified harm within this district and elsewhere throughout

  the United States.

         74.     As a result, Defendants are defrauding Plaintiff and the consuming public for

  Defendants’ own benefit.

         75.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Plaintiff's ownership of the Copyrighted Photographs, including its

  exclusive right to use and license such intellectual property and the goodwill associated

  therewith.

         76.     Defendants’ use of the Copyrighted Photographs, including the promotion and

  advertisement, reproduction, distribution, sale and offering for sale of their Infringing Goods, is

  without Plaintiff's consent or authorization.

         77.     Defendants are engaging in the above-described illegal infringing activities

  knowingly and intentionally or with reckless disregard or willful blindness to Plaintiff's rights.

         78.     If Defendants’ intentional infringing activities are not preliminarily and

  permanently enjoined by this Court, Plaintiff and the consuming public will continue to be

  harmed.

         79.     Defendants’ infringing activities are likely to cause confusion, deception, and

  mistake in the minds of consumers before, during and after the time of purchase.

         80.     Defendants’ payment and financial accounts, including but not limited to those

  specifically set forth on Schedule “A,” are being used by Defendants to accept, receive, and

  deposit profits from Defendants’ infringing activities connected to their Seller IDs and any other

  alias, e-commerce stores, or seller identification names being used and/or controlled by them.


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          81.     Defendants are likely to transfer or secret their assets to avoid payment of any

  monetary judgment awarded to Plaintiff.

          82.     Plaintiff is suffering irreparable injury and has suffered substantial damages as a

  result of Defendants’ unauthorized and infringing activities and its wrongful use of Plaintiff's

  intellectual property rights.

          83.     If Defendants’ infringing, and unfairly competitive activities are not preliminarily

  and permanently enjoined by this Court, Plaintiff and the consuming public will continue to be

  harmed.

          84.     The harm and damages sustained by Plaintiff have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Infringing Goods.

          85.     Defendants have sold their infringing products in competition directly with

  Plaintiff's genuine products.

          86.     Plaintiff should not have any competition from Defendants because Plaintiff never

  authorized Defendants to use Plaintiff's Copyrighted Photographs.

          87.     Plaintiff has no adequate remedy at law.



                           COUNT I – COPYRIGHT INFRINGEMENT
          88.     Plaintiff incorporates the allegations of paragraphs 1 through 88 of this

  Complaint as if fully set forth herein.

          89.     Plaintiff has complied in all respects with the Copyright Act of the United States

  and all other laws governing copyright and secured the exclusive rights and privileges in and to

  the Copyrighted Photographs. at issue in this action.



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          90.     Pursuant to 17 U.S.C. § 411 (a), Plaintiff registered the Copyrighted

  Photographs..

          91.     Defendants directly infringed Plaintiff's exclusive rights in its copyright registered

  photographs under 17 U.S.C. § 106.

          92.     Defendants copied, displayed, and distributed Plaintiff's Copyrighted Photographs

  and/or prepared derivative works based upon Plaintiff's Copyrighted Photographs in violation of

  Plaintiff's exclusive rights under 17 U.S.C. §106(1), (2) and/or (5).

          93.     Defendants’ conduct constitutes willful and direct copyright infringement of

  Plaintiff's Copyrighted Photographs.

          94.     Defendants profited from the direct infringement of the exclusive rights of

  Plaintiff in the Copyrighted Photographs.at issue in this case under the Copyright Act.

          95.     Defendants’ infringement is not limited to the copyright infringement listed

  above. Plaintiff will identify such additional infringement after discovery.

          96.     On information and belief, there is a business practice of infringement by

  Defendants.

          97.     On information and belief, Defendants routinely and intentionally infringe the

  intellectual property rights of others, including but not limited to Plaintiff's, acting with willful

  blindness and/or reckless disregard.

          98.     Plaintiff has been damaged by the infringement.

          99.     The harm to Plaintiff is irreparable.

          100.    Plaintiff is entitled to temporary and permanent injunctive relief from Defendants’

  willful infringement.




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          101.   Plaintiff is entitled to recover its actual damages and/or statutory damages, at its

  election.

          102.   Plaintiff is entitled to recover its reasonable costs and attorneys’ fees incurred in

  this action.

          WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an

  award of equitable relief and monetary relief against Defendants as follows:

                            a. Entry of temporary, preliminary, and permanent injunctions

                                pursuant to 17 U.S.C § 502 and 503 and Federal Rule of Civil

                                Procedure 65 from copying, displaying, distributing, or creating

                                derivative works of Plaintiff’s registered Copyrighted Photographs..

                            b. Entry of a Temporary Restraining Order, as well as preliminary and

                                permanent injunctions pursuant to 28 U.S.C. § 1651(a), The All

                                Writs Act, and the Court’s inherent authority, enjoining Defendants

                                and all third parties with actual notice of the injunction issued by

                                this Court from participating in, including providing financial

                                services, technical services or other support to, Defendants in

                                connection with the sale and distribution of non-genuine goods

                                bearing or using unauthorized reproductions or derivative works of

                                one or more of Plaintiff’s registered Copyrighted Photographs..

                            c. Entry of an order authorizing seizure, impoundment and/or

                                destruction of all of the products used to perpetrate the infringing

                                acts pursuant to 17 U.S.C. § 503.




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                       d. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs

                           Act, and the Court’s inherent authority that, upon Plaintiff's request,

                           the applicable governing Internet marketplace website operators

                           and/or administrators for the Seller IDs who are provided with

                           notice of an injunction issued by this Court disable and/or cease

                           facilitating access to the Seller IDs and any other alias seller

                           identification names being used and/or controlled by Defendants to

                           engage in the business of marketing, offering to sell, and/or selling

                           goods bearing or using unauthorized reproductions or derivative

                           works of one or more of Plaintiff’s Copyrighted Photographs.

                       e. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs

                           Act, and this Court’s inherent authority that, upon Plaintiff's request,

                           any messaging service and Internet marketplace website operators,

                           administrators, registrar and/or top level domain (TLD) registry for

                           the Seller IDs who are provided with notice of an injunction issued

                           by this Court identify any e-mail address known to be associated

                           with Defendants’ respective Seller IDs.

                       f. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs

                           Act, and this Court’s inherent authority that upon Plaintiff's request,

                           any Internet marketplace website operators and/or administrators

                           who are provided with notice of an injunction issued by this Court

                           permanently remove from the multiple platforms, which include,

                           inter alia, a direct platform, group platform, seller product


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                           management platform, vendor product management platform, and

                           brand registry platform, any and all listings and associated images

                           of goods bearing or using unauthorized reproductions or derivative

                           works of one or more of Plaintiff’s Copyrighted Photographs via the

                           e-commerce stores operating under the Seller IDs, including but not

                           limited to the listings and associated images identified by the

                           “parent” and/or “child” Amazon Standard Identification Numbers

                           (“ASIN”) on Schedule “A” annexed hereto, and upon Plaintiff's

                           request, any other listings and images of goods using infringements

                           of the Copyrighted Photographs associated with any ASIN linked to

                           the same sellers or linked to any other alias seller identification

                           names being used and/or controlled by Defendants to promote, offer

                           for sale and/or sell goods bearing and/or using infringements of the

                           Copyrighted Photographs.

                       g. Entry of an Order pursuant to 28 U.S.C. § 1651(a), The All Writs

                           Act and this Court’s inherent authority that, upon Plaintiff's request,

                           Defendants and any Internet marketplace website operators and/or

                           administrators who are provided with notice of an injunction issued

                           by this Court immediately cease fulfillment of and sequester all

                           goods of each Defendants bearing or using unauthorized

                           reproductions or derivative works of one or more of Plaintiff’s

                           Copyrighted Photographs in its inventory, possession, custody, or

                           control, and surrender those goods to Plaintiff.


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                       h. Entry of an Order requiring Defendants to correct any erroneous

                           impression the consuming public may have derived concerning the

                           nature, characteristics, or qualities of their products, including

                           without limitation, the placement of corrective advertising and

                           providing written notice to the public.

                       i. Entry of an Order requiring Defendants to account to and pay

                           Plaintiff for all profits and damages resulting from Defendants’

                           copyright infringement, or statutory damages (at Plaintiff’s

                           election), for all infringements involved in the action, with respect

                           to any one work, for which any one Defendants are liable

                           individually, or for which Defendants are liable jointly and severally

                           with another, in a sum of not less than $750 or more than $30,000

                           as the Court considers just pursuant to 17 U.S.C. §504(c)(1), or to

                           the extent the Court finds that infringement was committed

                           willfully, an award of statutory damages to a sum of not more than

                           $150,000 per violation, pursuant to 17 U.S.C. §504(c)(2).

                       j. Entry of an award pursuant to 17 U.S.C. § 505 of Plaintiff’s costs

                           and reasonable attorneys’ fees and investigative fees, associated

                           with bringing this action, including the cost of corrective

                           advertising.

                       k. Entry of an Order that, upon Plaintiff's request, Defendants and any

                           financial institutions, payment processors, banks, escrow services,

                           money transmitters, or marketplace platforms, and their related


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                             companies and affiliates, identify and restrain all funds, up to and

                             including the total amount of judgment, in all financial accounts

                             and/or sub-accounts used in connection with the Seller IDs, or other

                             alias seller identification or e-commerce store names used by

                             Defendants presently or in the future, as well as any other related

                             accounts of the same customer(s) and any other accounts which

                             transfer funds into the same financial institution account(s) and

                             remain restrained until such funds are surrendered to Plaintiff in

                             partial satisfaction of the monetary judgment entered herein.

                          l. Entry of an award of pre-judgment interest on the judgment amount.

                          m. Entry of an Order for any further relief as the Court may deem just

                             and proper.

  DATED: March 15, 2024

                                            Respectfully submitted,

                                            /s/ Joel B. Rothman
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